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                          IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF KANSAS

DEBRA RITTGERS

                            Plaintiff

v.
                                                                Case No. 17-4019-DDC-KGG

MELVIN HALE

                            Defendant.




                          PROOF OF SERVICE BY CERTIFIED MAIL

       The following document was served on Plaintiff’s Attorney of Record of Record, Larry Michel,

and the Clerk of the Court for the Lyon District Attorney by Certified Mail:

        Notice of Removal to Federal Court.

       Photo copies of the return receipts are attached.




Dated: March 16, 2017                                Respectfully submitted,


                                                     ______________________________
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